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           EXHIBIT C
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                              UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MASSACHUSETTS
                                                     :
  STATE OF NEW JERSEY, et al.                        :
                                                     :
              Plaintiffs,
                                                     :
     v.                                              :
                                                     :
  DONALD J. TRUMP, et al.                            :
                                                     :
              Defendants.                            :
                                                     :
                                                         Civil Action No.: ___________
                                                                           25-cv-10139
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                            DECLARATION OF KAITLAN BASTON

          I, Kaitlan Baston, MD, MSc, DFASAM, hereby declare the following:

1. I am the Commissioner of the New Jersey Department of Health (“DOH”) and have been

   employed as the Commissioner since August of 2023. I am dual boarded in Family Medicine

   and Addiction Medicine, obtained a master’s degree in Neuroscience from Kings College,

   London, and graduated from Jefferson Medical College in Philadelphia, Pennsylvania. Prior

   to becoming DOH’s Commissioner, I built and led the Cooper Center for Healing, an

   integrated pain, addiction, and behavioral health center and was an Associate Professor of

   Medicine at Cooper Medical School of Rowan University. Prior to my position with Cooper,

   my work ranged from public health projects in Rwanda, to public maternity and trauma




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   hospitals in the Dominican Republic, to providing full spectrum family planning services and

   working in a bilingual community health center in Seattle, Washington.

2. The information in the statements set forth below were compiled through personal

   knowledge, through DOH personnel who have assisted in gathering this information from

   our agency, as well as information from experts outside of DOH provided to me.

                                 New Jersey Department of Health

3. DOH’s mission is to protect public health, promote healthy communities, and continue to

   improve the quality of health care in New Jersey. To support that goal, DOH performs many

   functions, including regulating healthcare facilities and overseeing the registration of vital

   events, such as births, through the Department’s Office of Vital Statistics and Registry

   (“OVSR”).

                           Registration and Birth Certificates of Newborns

4. Healthcare facilities coordinate with OVSR to collect information to register a child’s birth.

5. When a child is born in a healthcare facility, a medical attendant to the birth is statutorily

   obligated to register the birth. They provide the newborn’s parents with a Birth Certificate

   Worksheet (“the Worksheet”). The Worksheet does not inquire about the parents’

   immigration status.

6. After the newborn’s parents complete and sign the Worksheet, the healthcare facility enters

   the information from the Worksheet into an electronic birth system (VERI) maintained by

   OVSR. The local registrar in the municipality where the child is born then reviews the birth

   record in VERI, and if accepted, the birth certificate is created and registered with OVSR.

7. A newborn’s completed birth certificate does not indicate whether the parents have a Social

   Security Number (“SSN”). The only information provided on a birth certificate regarding the



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   child’s parents is the mother’s legal name, the father’s full name (if provided), their places

   and dates of birth, residence, and mailing addresses. Currently, it is not possible to determine

   a foreign-born parent’s immigration status from their child’s birth certificate.

8. In 2024 there were approximately 95,792 births registered in the State of New Jersey.

                        Application for Social Security Number of Newborns

9. While registering a newborn for a birth certificate at a healthcare facility, parents may also

   indicate on the Worksheet whether they would like to request an SSN for their child through

   a Social Security Administration (“SSA”) program called Enumeration at Birth (“EAB”).

10. The EAB program is voluntary for families, but according to SSA, about 99 percent of SSNs

   for infants are assigned through this program. If parents indicate on the Worksheet that they

   want an SSN for their child, healthcare facilities transmit these requests electronically to

   OVSR, which then transmits the requests to SSA.

11. New Jersey receives federal funding from the SSA EAB process on a quarterly basis for each

   SSN that is issued through the EAB process. The State receives $4.82 per SSN issued

   through the EAB program, or approximately $90,000 to $110,000 per quarter. The State

   generally receives payment a month after the quarter ends and is thus expecting its next

   payment in April 2025. OVSR uses those funds to support the payment of administrative and

   operational costs.

                Effects of the Executive Order on Registration and EAB Process

12. I have been advised that an executive order titled “Protecting the Meaning and Value of

   American Citizenship” was issued on January 20, 2025 (the “Executive Order”) stating that

   children born to (i) a mother who is unauthorized or who is lawfully present but only on a

   temporary basis, and (ii) a father who is neither a U.S. citizen nor a lawful permanent



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   resident, shall not be recognized as citizens by the federal government, rendering them

   ineligible to receive an SSN. DOH has been advised that approximately 6,200 children per

   year are born in New Jersey with two undocumented parents. This is an underestimate to

   some degree because it does not include children who have one parent who is not

   undocumented but who nonetheless does not meet the immigration status requirements of the

   Executive Order to confer citizenship on their child born in the United States.

13. If SSA will not issue an SSN to those children, OVSR estimates approximately 6,200 fewer

   SSNs will be issued annually in New Jersey. If approximately 6,200 fewer SSNs are issued

   through the EAB process under the Executive Order, this will result in an annual loss of EAB

   funding to New Jersey of approximately $30,000.

14. If, as a result of the Executive Order, the newborn registration process has to be amended to

   provide for verification of the parents’ citizenship and/or immigration status either to obtain

   an SSN for the newborn, issue a birth certificate to the newborn, or to indicate on the birth

   certificate whether the newborn child is eligible for birthright citizenship based on their

   parents’ status, this will impose material administrative burdens on OVSR and healthcare

   facilities, including University Hospital, which is an acute care hospital that is an

   instrumentality of the State providing obstetric services.

15. OVSR and healthcare facilities would have to develop a system for ascertaining,

   documenting, and verifying the parents’ immigration status, and they would have to train

   staff on how to implement and use this system. Assuming this burden would further lead to

   delays in registration and issuance of the newborn’s birth certificate, which must be

   completed within five days of the birth under state law.




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16. Because of the Executive Order, SSA will presumably require proof of parents’ lawful status

   to issue an SSN. Healthcare facilities providing obstetric services, including University

   Hospital, will be forced to consult with, and assist, families with obtaining the paperwork

   necessary to prove their lawful status. It is likely that the electronic system and guidelines

   for submitting SSN applications through that system—which are currently detailed in a 59-

   page SSA manual— will have to be revised. This will likely require healthcare facilities to

   train, and potentially hire, staff to work with parents in obtaining, and then verifying, the

   requisite documents to establish lawful immigration status. It will also require OVSR to

   expend resources to modify its systems for obtaining information from healthcare facilities

   and transmitting that information to SSA, and to train staff on these changes.

                               Early Intervention Services for Children

17. Under the federal Individuals with Disabilities Act (“IDEA”), states are required to provide

   Early Intervention Services (“EIS”), such as speech or occupational therapy, to children up to

   three years old with certain disabilities and developmental delays. In New Jersey, DOH

   administers and provides EIS for families.

18. Direct services for children enrolled in EIS are principally funded by the State, but the

   federal government covers 50 percent of the costs for children enrolled in the federal-state

   Medicaid program (“Federal-State Medicaid”). Children are eligible for Federal-State

   Medicaid if they are U.S. citizens or “qualified aliens” and their family income is below

   certain thresholds.

19. There are currently 37,075 children in New Jersey receiving EIS, of which approximately 46

   percent, or 17,220 are enrolled in Federal-State Medicaid.




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20. For EIS direct services furnished in State fiscal year 2024, New Jersey appropriated

   approximately $118 million, had approximately $180 million in EIS Medicaid claims, and

   the federal government reimbursed approximately $90 million of those claims.

21. Before the Executive Order, children born in New Jersey were U.S. citizens by birthright

   regardless of their parents’ immigration status and would be eligible for Federal-State

   Medicaid provided they met certain income requirements. If those children were enrolled in

   Federal-State Medicaid and needed EIS in the first three years of life, DOH would provide

   those services and receive a 50 percent cost reimbursement from the federal government. If

   those children needed EIS, but were ineligible for Federal-State Medicaid, DOH would still

   be required to provide EIS, but would not receive any reimbursement from the federal

   government and instead would have to rely on State-appropriated funds.

22. DOH has been advised of estimates that in the last three calendar years, there have been

   between 7,000 and 8,000 births per year to undocumented pregnant women whose labor and

   delivery were covered by emergency Medicaid services. Undocumented patients may qualify

   for emergency Medicaid that covers certain emergency medical services if they meet all

   Federal-State Medicaid eligibility requirements except for immigration status.

23. DOH has further been informed that approximately 58 percent of children born to

   undocumented mothers covered by emergency Medicaid likely had a second parent who was

   undocumented. Thus, a reasonable approximation of the number of children born to

   undocumented parents who have been eligible for Federal-State Medicaid prior to the

   Executive Order is 4,060 to 4,640 children per year.




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24. Of this number, it is highly likely some will require EIS. The State will lose the federal

   reimbursement funds it would have otherwise received and will then have to absorb the cost

   of those lost reimbursement funds.



   I declare under penalty of perjury that I am authorized to sign this certification, that there is

no single official or employee of the DOH who has personal knowledge of all such matters; that

the facts stated above have been assembled by employees of DOH as well as provided by experts

outside of DOH, and I am informed that the information set forth above are in accordance with

the information available to me and records maintained by the DOH and are true and accurate. I

am aware that if any of the foregoing statements made by me are willfully false, I am subject to

punishment.



   Executed this 21st day of January, 2025, in Trenton, New Jersey.




                                                      ______________________________
                                                      Kaitlan Baston, MD, MSc, DFASAM
                                                      Commissioner
                                                      New Jersey Department of Health




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